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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 JOHN PIPPEN, on behalf of himself and           )
 all other similarly situated persons,           )
                                                 )
                    Plaintiff,                   )    CASE NO. _______________
                                                 )
   v.                                            )
                                                 )    COLLECTIVE AND CLASS ACTION
 GLOBAL TECHNICAL                                )    COMPLAINT
 RECRUITERS INC.,                                )
                                                 )    JURY DEMAND ENDORSED HEREON
                    – and –                      )
                                                 )
 LIBERTY STEEL INDUSTRIES,                       )
 INC.,                                           )
                                                 )
                  Defendants.                    )

        Plaintiff John Pippen (Plaintiff) files this Complaint against Defendants Global Technical

Recruiters Inc. (Defendant Global Technical) and Liberty Steel Industries, Inc. (Defendant Liberty

Steel) (collectively Defendants), seeking all available relief under the Fair Labor Standards Act of

1938, 29 U.S.C. § 201, et seq. (FLSA), Ohio Revised Code (O.R.C.) § 4111.03(D) (Ohio Overtime

Law), O.R.C. § 4113.15 (OPPA), O.R.C. § 2307.60, O.R.C. § 4111.14(G), and Ohio Const. Art.

II, § 34a. The following allegations are based on personal knowledge of Plaintiff’s own conduct,

and upon information and belief as to the conduct and acts of others:

                                        INTRODUCTION

        1.       This case challenges policies and practices of Defendants that violate the FLSA and

Ohio law.

        2.       Plaintiff brings this case as a collective action on behalf of himself and other

similarly situated persons who have joined or may join this case pursuant to 29 U.S.C. § 216(b)

(the Opt-Ins).

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        3.       Plaintiff also brings this case as a class action pursuant to Fed. R. Civ. P. 23 on

behalf of himself and others like them who worked for Defendants in Ohio and suffered the same

harms described below.

        4.       Plaintiff further brings an individual claim for violations of O.R.C. § 4111.14(G)

and the Ohio Constitution, Ohio Const. Art. II, § 34a.

                                   JURISDICTION AND VENUE

        5.       This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28 U.S.C.

§1331 and 29 U.S.C. § 216(b).

        6.       Venue is proper in this judicial district and division pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in

this judicial district.

        7.       The Court has supplemental jurisdiction over the asserted Ohio claims pursuant to

28 U.S.C. § 1367 because the claims are so related to the FLSA claims as to form part of the same

case or controversy.

                                               PARTIES

        8.       At all times relevant, Plaintiff has been a citizen of the United States and was jointly

employed by Defendants within this district and division. Plaintiff’s written consent to join is

attached as Exhibit A.

        9.       Defendant Global Technical is a for-profit Ohio corporation, headquartered in

Cleveland, Ohio (Cuyahoga County). Defendant Global Technical can be served through its

registered agent: Corporation Service Company, at 50 West Broad Street, Columbus, OH 43215.




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          10.     Defendant Liberty Steel is a for-profit Ohio corporation, headquartered in Warren

Ohio (Trumbull County). Defendant Liberty Steel can be served through its registered agent: KMK

Service Corp., at 1 E 4th Street, Suite 1400, Cincinnati, OH 45202.

                                     FACTUAL ALLEGATIONS

                                   Defendants as Joint Employers

          11.     At all times relevant, Defendants were individually and jointly “employers” within

the meaning of the FLSA and Ohio law.

          12.     At all relevant times, Plaintiff and those similarly situated were “employees” of

Defendants.

          13.     At all relevant times, Defendants individually and jointly comprised an enterprise

within the meaning of 29 U.S.C. § 203(r), and an enterprise engaged in commerce or in the

production of goods for commerce within the meaning of 29 U.S.C. § 203(s)(1).

          14.     Defendants individually and jointly operate as an enterprise, with Defendant Global

Technical providing employees to Defendant Liberty Steel in its business of processing coated,

cold rolled, and hot rolled steel and providing a variety of stamping and blanking services. 1

          15.     Defendants jointly employed Plaintiff and those similarly situated as hourly, non-

exempt employees.

          16.     Plaintiff worked for Defendants as a laborer for several months in 2019, at an hourly

rate of approximately $10.

          17.     Defendants share operational control over significant aspects of the day-to-day

functions of Plaintiff and others similarly situated, including supervising and controlling schedules

and conditions of employment.



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    http://libertysteelind.com/ (last viewed 2/3/21).


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        18.     Defendants share authority to hire, fire and discipline employees, including Plaintiff

and others similarly situated.

        19.     Defendants share authority to set rates and methods of compensation of Plaintiff and

others similarly situated.

        20.     Defendants share control and maintenance of employment records.

        21.     Defendants have mutually benefitted from the work performed by Plaintiff and others

similarly situated.

        22.     Defendants have not acted entirely independently of each other and have not been

completely disassociated with respect to Plaintiff and others similarly situated.

        23.     Defendants share the services of Plaintiff and others similarly situated.

        24.     Defendants acted directly or indirectly in the interest of each other in relation to

Plaintiff and others similarly situated.

                                       Unpaid Pre-Shift Work

        25.     Defendants required Plaintiff and others similarly situated to attend daily pre-shift

meetings lasting approximately 15 to 20 minutes a day.

        26.     Additionally, Plaintiff and others similarly situated are required to don personal

protective gear, including Kevlar sleeves before their shift starts.

        27.     However, Defendants do not pay Plaintiff and those similarly situated for this work.

Rather, Defendants pay them only pay them at their shift start time.

        28.     The pre-shift meetings and donning of personal protective gear constituted

compensable work, as they are necessary, indispensable, integral, and intrinsic to the jobs that

Plaintiff and those similarly situated were hired to do.




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       29.     This unpaid compensable work constituted the first principal activity of their

workday and could not be dispensed with. Plaintiff and those similarly situated could not perform

the rest of their shift-duties without first attending the mandatory pre-shift meetings and donning

their personal protective gear.

                                       Improper Deductions

       30.     If Plaintiff or others similarly situated clocked out as little as a few minutes early,

they were docked a full 15 minutes.

                                         Unpaid Overtime

       31.     Plaintiff and others similarly situated regularly work more than 40 hours in a

workweek.

       32.     Because Defendants failed to pay Plaintiff and others similarly situated for

compensable pre-shift work and improperly deducted a full 15 minutes for clocking out a few

minutes early, Defendants failed to pay them all overtime compensation earned at a rate of at least

one and one-half times their regular rates for hours worked in excess of 40 in a workweek.

                                  Failure to Keep Accurate Records

       33.     Further, as a result of the conduct described above, Defendants failed to make, keep

and preserve accurate records of the all hours worked by Plaintiff and other similarly situated

employees, as required by the FLSA and Ohio law.

                    Defendants Failed to Produce Documents in Accordance with
                       O.R.C. § 4111.14(G) and the Ohio Const. Art. II, § 34a

       34.     Pursuant to O.R.C. § 4111.14(G) and the Ohio Constitution, Ohio Const. Art. II,

§34a, on September 14, 2020, Plaintiff mailed a request for documents relating to Plaintiff’s

employment, including but not limited to Plaintiff’s pay rate, hours worked each day and amounts

paid to Plaintiff, to Defendant via regular U.S. mail to Defendant Liberty Steel’s statutory agent.



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          35.   Plaintiff included a properly executed release with his request.

          36.   Defendant Liberty Steel produced some, but not all, responsive documents,

notwithstanding the knowledge that it, along with Defendant Global Technical, was a joint

employer of Plaintiff.

          37.   On November 30, 2020, Plaintiff sent another document request, along with a

properly executed release, to Defendant Global Technical’ s statutory agent.

          38.   While Defendant Liberty Steel partially responded, as of this filing, no response

has been forthcoming from Defendant Global Technical.

          39.   Accordingly, more than thirty (30) business days have passed since Plaintiff’s

document requests, and Defendants are in violation of O.R.C. § 4111.14(G) and Ohio Const. Art. II,

§ 34a.

                           COLLECTIVE ACTION ALLEGATIONS

          40.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          41.   Plaintiff brings this case as a “collective action” pursuant to 29 U.S.C. § 216(b) on

behalf of the following collective:

          All present and former full-time hourly employees, including but not limited to,
          laborers and other production employees, who are or were required to attend pre-
          shift meetings, don personal protective gear, who are or were subject to 15 minute
          punch-time deductions, and that were employed by Defendants during the period
          three (3) years preceding the commencement of this action through its final
          disposition (“FLSA Collective”).

          42.   Such persons are “similarly situated” with respect to Defendants’ FLSA violations

in that all were hourly employees of Defendants, and all were subjected to and injured by

Defendants’ unlawful practices of failing to pay them all overtime hours worked.




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       43.     The FLSA Collective Members have the same claims against Defendants for unpaid

overtime compensation as well as for liquidated damages, attorneys’ fees, and costs.

       44.     Conditional certification of this case as a collective action pursuant to 29 U.S.C.

§216(b) is proper and necessary so that such persons may be sent a Court-authorized notice

informing them of the pendency of this action and giving them the opportunity to “opt in.”

       45.     Plaintiff cannot yet state the exact number of similarly situated persons but

estimates approximately 100 or more similarly situated employees during the relevant time period.

Such persons are readily identifiable through the payroll records that Defendants are presumed to

have maintained and were required to maintain pursuant to the FLSA and Ohio law.

       46.     To the extent Defendants failed to keep records as required by law, Plaintiff and

those similarly situated are entitled to a reasonable estimate of hours worked.

                         OHIO RULE 23 CLASS ACTION ALLEGATIONS

       47.     Plaintiff further bring this action pursuant to Fed. R. Civ. P. 23(a) and (b)(3) on

behalf of himself and the following class:

       All present and former full-time hourly employees, including but not limited to,
       laborers and other production employees, who are or were required to attend pre-
       shift meetings, don personal protective gear, who are or were subject to 15 minute
       punch-time deductions, and that were employed by Defendants during the period two
       (2) years preceding the commencement of this action through its final disposition
       (“Ohio Class”).

       48.     The Ohio Class is so numerous that joinder of all class members is impracticable.

Plaintiff is unable to state the exact size of the potential Ohio Class, which will be in Defendants’

records if kept, but estimates that it is approximately at least 100 individuals within the relevant

time period.




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          49.   There are questions of law or fact common to the Ohio Class including: whether

Defendants failed to pay them for all hours worked, whether such unpaid hours resulted in overtime

violations, and whether such overtime remains unpaid.

          50.   Plaintiff will adequately protect the interests of the Ohio Class Members. His

interests are not antagonistic to but, rather, are in unison with, the interests of the Ohio Class

Members. Plaintiff’s counsel has broad experience in handling class action wage-and-hour

litigation and is fully qualified to prosecute the claims of the Ohio Class in this case.

          51.   The questions of law or fact that are common to the Ohio Class predominate over

any questions affecting only individual members. The primary questions that will determine

Defendants’ liability to the class are common to each class as a whole and predominate over any

questions affecting only individual class members.

          52.   Class action treatment is superior to other available methods for the fair and

efficient adjudication of this controversy. Requiring Ohio Class Members to pursue their claims

individually would entail a host of separate suits, with concomitant duplication of costs, attorneys’

fees, and demands on court resources. Many Ohio Class Members’ claims are sufficiently small

that they would be reluctant to incur the substantial cost, expense, and risk of pursuing their claims

individually. Certification of this case pursuant to Fed. R. Civ. P. 23 will enable the issues to be

adjudicated for all class members with the efficiencies of class litigation.

                                         COUNT ONE
                                   (FLSA Collective Violations)

          53.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          54.   Plaintiff brings this claim for violation of the FLSA’s overtime provisions on behalf

of himself and the Opt-Ins who will join this case pursuant to 29 U.S.C. § 216(b).



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       55.      Defendants are covered by the FLSA and the FLSA Collective Members are not

exempt from the protections of the FLSA.

       56.      Under the continuous workday rule, employees must be paid for all hours worked

starting with their first principal activity and ending with their last principal activity of the

workday.

       57.      The FLSA requires that non-exempt employees be paid at a rate of one and one-

half times their regular rate for every hour worked in excess of 40 in a workweek.

       58.      Defendants have a companywide policy of not paying the FLSA Collective

Members for pre-shift compensable work and instead only paying them from the shift start time,

which resulted in the underpayment of overtime compensation earned for hours worked in excess

of 40 in a workweek.

       59.      Defendants have a companywide policy of deducting a full 15 minutes when

clocking out just a few minutes early, which also resulted in the underpayment of overtime

compensation.

       60.      Defendants knew or should have known that their conduct described herein violated

the law. By engaging in these practices, Defendants willfully violated the FLSA and regulations

thereunder that have the force and effect of law.

       61.      As a result of Defendants’ individual and joint violations of the FLSA, Plaintiff and

those similarly situated were injured in that they did not receive all overtime compensation due to

them. Section 16(b) of the FLSA entitles them to an award of unpaid overtime compensation, an

additional equal amount as liquidated damages, reasonable attorney's fee, and costs.




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          62.   As a result of Defendants’ practices, Plaintiff and the FLSA Collective Members

have been harmed in that they have not received wages due to them pursuant to the FLSA; and

because wages remain unpaid, damages continue.

                                       COUNT TWO
                         (Ohio Overtime and OPPA - Class Violations)

          63.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          64.   Defendants are individual and joint “employers” covered by the overtime

requirements of Ohio law.

          65.   Under the continuous workday rule, employees must be paid for all hours worked

starting with their first principal activity and ending with their last principal activity of the

workday.

          66.   The Ohio Overtime Law requires that non-exempt employees be paid for hours

worked in excess of 40 in a workweek at a rate of not less than one and one-half times their regular

rates.

          67.   As employees of Defendants, Plaintiff and the Ohio Class Members work or

worked more than 40 hours in a workweek but were not paid all overtime compensation earned

for hours worked in excess of 40.

          68.   Defendants had a companywide policy of not paying the Ohio Class Members for

pre-shift compensable work and instead only paying them from the shift start time, which resulted

in the underpayment of overtime compensation earned for hours worked in excess of 40 in a

workweek.




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       69.      Defendants have a companywide policy of deducting a full 15 minutes when

clocking out just a few minutes early, which also resulted in the underpayment of overtime

compensation.

       70.      Plaintiff and the Ohio Class Members are not exempt under Ohio law.

       71.      Defendants’ practice and policy of not paying Plaintiff and the Ohio Class Members

all overtime compensation earned at one and one-half times their regular rate of pay violated the

Ohio Overtime Law.

       72.      Additionally, the OPPA requires Defendants to pay Plaintiff and the Ohio Class

Members all wages, including overtime, on or before the first day of each month, for wages earned

by them during the first half of the preceding month ending with the fifteenth day thereof, and on

or before the fifteenth day of each month, for wages earned by them during the last half of the

preceding calendar month. See O.R.C. § 4113.15(A).

       73.      During relevant times, Plaintiff and the Ohio Class Members were not paid all

overtime wages earned within 30 days of performing the work. See O.R.C. § 4113.15(B).

       74.      Plaintiff’s and the Ohio Class Members’ earned overtime compensation remains

unpaid for more than 30 days beyond their regularly scheduled payday.

       75.      The OPPA provides for liquidated damages in an amount equal to six percent (6%)

of the amount of the claim still unpaid or two hundred dollars per pay period, whichever is greater.

       76.      By engaging in the above-mentioned conduct, Defendants willfully, knowingly,

and/or recklessly Ohio law.

       77.      As a result of Defendants’ practices, Plaintiff and the Ohio Class members have

been harmed in that they have not received wages due to them pursuant to Ohio law; and because

wages remain unpaid, damages continue.




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          78.   Pursuant to Ohio law, Plaintiff are entitled to attorneys’ fees and costs incurred.

                                    COUNT THREE
                  (Damages Pursuant to O.R.C. § 2307.60 - Class Violations)

          79.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          80.   As a result of Defendants’ practices and policies, Plaintiff and the Ohio Class

Members have been harmed in that they have not received wages due to them pursuant to the Ohio

Overtime Law.

          81.   The Fair Labor Standards Act, 29 U.S.C. § 216(a), imposes criminal penalties for

willful violations of the FLSA.

          82.   By their acts and omissions described herein, Defendants have willfully violated

the FLSA, and Plaintiff and the Ohio Class have been injured as a result.

          83.   Section 2307.60 permits anyone injured in person or property by a criminal act to

recover damages in a civil action, including exemplary and punitive damages.

          84.   As a result of Defendants’ willful violations of the FLSA, Plaintiff and the Ohio

Class Members are entitled to compensatory and punitive damages pursuant to O.R.C. § 2307.60.

                                      COUNT FOUR
    (Violation of O.R.C. § 4111.14(G) and Ohio Const. Art. II, § 34a - Individual Claim)

          85.   Plaintiff mailed two requests for documents O.R.C. § 4111.14(G) and the Ohio

Constitution, Ohio Const. Art. II, relating to Plaintiff’s employment.

          86.   Plaintiff included a properly execute release with her request.

          87.   Defendants were individually and jointly Plaintiff’s “employer” as it is defined in

O.R.C. § 4111.14 and Ohio Const. Art. II, § 34a.




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       88.     As Plaintiff’s joint employer, Defendants were required to maintain records relating

to Plaintiff’s employment in accordance with Ohio law.

       89.     Under O.R.C. § 4111.14(G) and in accordance with the Ohio Constitution,

Defendants were required to “provide such information without charge to an employee or person

acting on behalf of an employee upon request . . . within thirty [30] business days.”

       90.     More than 30 business days have passed, and as of this filing, Defendant Liberty

Steel only partially produced documents and Defendant Global Technical has not responded at all.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court:

       A.      Conditionally certify this case as a “collective action” pursuant to 29 U.S.C.
               §216(b), and direct that Court-approved notice be issued to similarly situated
               individuals informing them of this action and enabling them to opt-in;

       B.      Certify the Ohio Class pursuant to Fed. R. Civ. P. 23;

       C.      Enter judgment against Defendants, jointly and severally, and in favor of Plaintiff,
               the Opt-Ins who join this case pursuant to 29 U.S.C. § 216(b), and the Ohio Class
               Members;

       D.      Award Plaintiff, and the collective and class he represents, actual damages for
               unpaid wages, and liquidated, exemplary, and punitive damages as provided under
               the FLSA and Ohio law;

       E.      Award Plaintiff, and the collective and class he represents, pre-judgment and/or
               post-judgment interest at the statutory rate;

       F.      Award Plaintiff, and the collective and class he represents, attorneys’ fees, costs,
               and disbursements;

       G.      Direct Defendants to produce all documents pursuant to O.R.C. § 4111.14(G) at no
               cost to Plaintiff; and

       H.      Award Plaintiff, and the collective and class he represents, further and additional
               relief as this Court deems just and proper.




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                                                          Respectfully submitted,
                                                          NILGES DRAHER LLC

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                                                          Counsel for Plaintiff




                                    JURY DEMAND

 Plaintiff hereby demands a trial by jury on all issues so triable.

                                                  /s/ Robi J. Baishnab
                                                  Counsel for Plaintiff




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